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                                                                          5                                IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                                No. CR 14-0175 WHA
                                                                                              Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           ORDER ADOPTING NEW
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC                                     CONDITIONS OF PROBATION
                                                                         13   COMPANY,

                                                                         14                   Defendant.
                                                                                                                     /
                                                                         15
                                                                         16          This order follows the April 2 hearing on the March 5 order to show cause. In addition

                                                                         17   to the conditions of probation already in effect, the Court imposes the following new conditions

                                                                         18   of probation in order to protect the public from further death and destruction resulting from

                                                                         19   PG&E-caused wildfires, to deter similar wrongs by other utilities, and to promote the

                                                                         20   rehabilitation of PG&E among other goals of 18 U.S.C. §§ 3553(a)(1) and (a)(2):

                                                                         21                   1.      PG&E must fully comply with all applicable laws concerning

                                                                         22          vegetation management and clearance requirements, including Sections 4292 and

                                                                         23          4293 of the California Public Resources Code, CPUC General Order 95, and

                                                                         24          FERC FAC-003-4. In this connection, the Court accepts CAL FIRE’s

                                                                         25          interpretation of Section 4293 as set forth in its February 6 submission (Dkt. No.

                                                                         26          1012).

                                                                         27                   2.      PG&E must fully comply with the specific targets and metrics set

                                                                         28          forth in its wildfire mitigation plan, including with respect to enhanced vegetation
                                                                                     management. Compliance with these targets and metrics, however, will not
                                                                          1          excuse any failure to fully comply with the vegetation laws as required in
                                                                          2          paragraph 1. For purposes of this condition, the operative wildfire mitigation plan
                                                                          3          will be the plan ultimately approved by the CPUC.
                                                                          4                 3.        The Monitor shall assess PG&E’s wildfire mitigation and wildfire
                                                                          5          safety work, including through regular, unannounced inspections of PG&E’s
                                                                          6          vegetation management efforts and equipment inspection, enhancement, and
                                                                          7          repair efforts. The inspections will include both inspections of segments of power
                                                                          8          lines where PG&E has conducted its enhanced vegetation management efforts
                                                                          9          pursuant to its wildfire mitigation plan, as well as areas where enhanced
                                                                         10          vegetation management has yet to occur. The inspections will further include
                                                                         11          field interviews and questioning of PG&E employees and contractors.
United States District Court
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                                                                         12                 4.        PG&E shall maintain traceable, verifiable, accurate, and complete
                                                                         13          records of its vegetation management efforts. PG&E shall report to the Monitor
                                                                         14          on the first business day of every month on its vegetation management status and
                                                                         15          progress, and make available for inspection all related records at the Monitor’s
                                                                         16          request.
                                                                         17                 5.        PG&E shall ensure that sufficient resources, financial and
                                                                         18          personnel, including contractors and employees, are allocated to achieve the
                                                                         19          foregoing. If PG&E cannot find enough contractors, then PG&E must hire and
                                                                         20          train its own crews to trim and remove trees. To ensure that sufficient financial
                                                                         21          resources are available for this purpose, PG&E may not issue any dividends until
                                                                         22          it is in compliance with all applicable vegetation management requirements as set
                                                                         23          forth above.
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                                                                         25          IT IS SO ORDERED.
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                                                                              Dated: April 3, 2019.
                                                                         27                                                            WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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